           Case 1:19-cv-00487-JPC Document 49 Filed 10/20/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             10/20/2020
                                                                       :
PEARSON EDUCATION, INC. et al.,                                        :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :      19-CV-487 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
GEOFFREY LABOS et al.,                                                 :     REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Plaintiffs are hereby ordered to file a letter regarding the status of the case by no

later than November 12, 2020.

        If this case has been settled or otherwise terminated, counsel are not required to submit

such letter, provided that a stipulation of discontinuance, voluntary dismissal, or other proof of

termination is filed on the docket prior to the letter submission deadline, using the appropriate ECF

Filing Event.         See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php.

        SO ORDERED.

Dated: October 20, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
